
Nott, J«.
It is certainly a good, general rule, not to admit a plea ’ *395■puis dañen continuance, without an affidavit of the truth of the fact it contains, and that it took place since the last continuance. But the intention of the affidavit is to give' information to the court, and not to give validity to the plea. Whenever, therefore, such a plea has been filed, with leave of the court, I would presume that satisfactory proof had been given to the court, or that it was consented to by the opposite party. I would not permit it to be treated as a nullity, at a subsequent term. A plea, puis dañen continuance, is not necessarily what is technically called a dilatory plea. It is in the nature of a dilatory plea, but there is this difference between them: a pleapwís dañen continuance, cannot be filed without leave of the court; but no such leave is necessary in case of a dilatory plea, which is not a plea puis dañen continuance. An affidavit, therefore, is necessary, or it is a mere nullity. I am of opinion that the motion, in this case, ought to be granted.
Brevard, CoiiCOOK, Smith, and Bax, Js., concurred.
